




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-02-00145-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




RAMON DALE ROBINSON,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 2 OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS







MEMORANDUM OPINION (1)


	Appellant has filed a motion to dismiss his appeal.  The motion is signed by Appellant and
his counsel.  No decision having been delivered by this court, the motion is granted, and the appeal
is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered July 3, 2002.

Panel consisted of Gohmert, Jr., C.J., Worthen, J., and Griffith, J.






(DO NOT PUBLISH)









COURT OF APPEALS


TWELFTH COURT OF APPEALS DISTRICT OF TEXAS


JUDGMENT



JULY 3, 2002



NO. 12-02-00145-CR



RAMON DALE ROBINSON,


Appellant


V.


THE STATE OF TEXAS,


Appellee






  Appeal from the County Court at Law No. 2


  of Smith County, Texas. (Tr. Ct. No. 002-82312-01)








			THIS CAUSE came on to be heard on the motion of the Appellant to dismiss
the appeal herein, and the same being considered, it is hereby ORDERED, ADJUDGED and
DECREED by this Court that the appeal be Dismissed, and that this decision be certified to the
court below for observance.

			By memorandum opinion.

			Panel consisted of Gohmert, Jr., C.J., Worthen, J., and Griffith, J.


















THE STATE OF TEXAS


M A N D A T E


TO THE COUNTY COURT AT LAW NO. 2 OF SMITH COUNTY, GREETINGS:


	Before our Court of Appeals for the 12th Court of Appeals District of Texas, on the 3rd
day of July, 2002, the cause upon appeal to revise or reverse your judgment between


RAMON DALE ROBINSON, Appellant



NO. 12-02-00145-CR and Tr. Ct. Case Number 002-82312-01



Opinion by Memorandum.



THE STATE OF TEXAS, Appellee



was determined; and therein our said Court made its order in these words:

	THIS CAUSE came on to be heard on the motion of the Appellant to dismiss the appeal
herein, and the same being considered, it is hereby ORDERED, ADJUDGED and DECREED by this
Court that the appeal be Dismissed, and that this decision be certified to the court below for
observance.


	WHEREAS, YOU ARE HEREBY COMMANDED to observe the foregoing order of said
Court of Appeals for the Twelfth Court of Appeals District of Texas in this behalf, and in all things
have it duly recognized, obeyed, and executed.


	WITNESS, THE HONORABLE LOUIS B. GOHMERT, JR., Chief Justice of said Court
of Appeals for the Twelfth Court of Appeals District, with the Seal thereof affixed, at the City of
Tyler, this the ______ day of __________________, 200_.


			CATHY S. LUSK, CLERK



			By:_______________________________

			     Deputy Clerk 

1.  See Tex. R. App. P. 47.1.

